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c12)   United States Patent                                                          (IO) Patent No.:                        US 10,621,269 B2
       Phelps et al.                                                                 (45) Date of Patent:                               Apr. 14, 2020

(54)   PERFORMING MATRIX MULTIPLICATION                                      (58)          Field of Classification Search
       IN HARDWARE                                                                         CPC ........ G06F 17/16; G06F 7/483; G06F 7/4876;
                                                                                                                                                     G06N 3/02
(71)   Applicant: Google LLC, Mountain View, CA (US)                                       USPC .................................................. 708/514, 607
                                                                                           See application file for complete search history.
(72)   Inventors: Andrew Everett Phelps, Middleton, WI
                  (US); Norman Paul Jouppi, Palo Alto,
                  CA (US)                                                    (56)                                  References Cited

                                                                                                             U.S. PATENT DOCUMENTS
(73)   Assignee: Google LLC, Mountain View, CA (US)
                                                                                    5,548,545 A                     8/ 1996 Brashears et al.
( *)   Notice:      Subject to any disclaimer, the term ofthis                  2012/0191967 Al                     7/2012 Lin et al.
                    patent is extended or adjusted under 35                     2016/0321071 Al                    11/2016 Hansen et al.
                    U.S.C. 154(b) by 57 days.
                                                                                                               OTHER PUBLICATIONS
(21)   Appl. No.: 15/983,047
                                                                             PCT International Application No. PCT/US2018/033271, dated
(22)   Filed:       May 17, 2018                                             Sep. 13, 2018, 13 pages.
                                                                             TW Office Action in Taiwan Appln. No. 107116873, dated Jun. 11,
(65)                  Prior Publication Data                                 2019, 12 pages (with English translation).

       US 2018/0336165 Al          Nov. 22, 2018
                                                                             Primary Examiner - Tan V Mai
                Related U.S. Application Data                                (74) Attorney, Agent, or Firm - Fish & Richardson P.C.
(60)   Provisional application No. 62/507,748, filed on May
       17, 2017.                                                             (57)                                    ABSTRACT

(51)   Int. Cl.                                                              Methods, systems, and apparatus for performing a matrix
       G06F 17116               (2006.01)                                    multiplication using a hardware circuit are described. An
       G06N 3102                (2006.01)                                    example method begins by obtaining an input activation
       G06F 71487               (2006.01)                                    value and a weight input value in a first floating point format.
       G06F 71483               (2006.01)                                    The input activation value and the weight input value are
       G06F 9/30                (2018.01)                                    multiplied to generate a product value in a second floating
       G06N 3/04                (2006.01)                                    point format that has higher precision than the first floating
       G06N 3/063               (2006.01)                                    point format. A partial sum value is obtained in a third
                                                                             floating point format that has a higher precision than the first
(52)   U.S. Cl.
                                                                             floating point format. The partial sum value and the product
       CPC .............. G06F 17116 (2013.01); G06F 71483
                                                                             value are combined to generate an updated partial sum value
                  (2013.01); G06F 714876 (2013.01); G06F
                                                                             that has the third floating point format.
                  9/30014 (2013.01); G06N 3102 (2013.01);
                         G06N 3/0481 (2013.01); G06N 3/063
                                                  (2013.01)                                                  15 Claims, 11 Drawing Sheets


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                                                         Obtain a partiDI sum volut) having a thi~d format
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                                                       Combine the product v.alue and the partial ~um value
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                                  ....     Activation Circuitry       ....
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                                               FIG. 5




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                       Obtain an activation input value and a weight input
                                   value having a first format
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                     Multiply the activation input value and the weight input
                      value to generate a product value having a second
                                               format
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                        Obtain a partial sum value having a third format
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                                                ,.
                      Combine the product value and the partial sum value
                      to generate an updated partial sum value having the
                                         third format
                                               808




                                               FIG. 8
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     value having the first format    ·
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  Multiply the activation input value and
  the weight input value with enhanced
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                                                               Multiply the activation input value and
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                                                                                        FIG. 9




                                                                                                                                                                     GOOG-SING-00019976
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    PERFORMING MATRIX MULTIPLICATION                                and the input activation value and the weight input value can
              IN HARDWARE                                           be associated with a layer of the plurality of layers.
                                                                       The methods can include the actions of obtaining a raw
            CROSS-REFERENCE TO RELATED                              activation value and a raw weight value for the first matrix
                       APPLICATION                               5 computation cell having the third floating point format;
                                                                    converting the raw activation value into the first floating
   This application claims the benefit of the filing date of        point format to generate the input activation value; and
U.S. Application No. 62/507,748, filed on May 17, 2017.             converting the raw weight value into the first floating point
The disclosure of the prior application is considered part of       format to generate the weight input value. The methods can
                                                                 10 further include the actions of receiving a request to process
and is incorporated by reference in the disclosure of this
                                                                    the raw activation value with enhanced precision; generating
application.
                                                                    an activation enhanced precision value for the input value,
                                                                    the activation enhanced precision value being a measure of
                       BACKGROUND
                                                                    difference between the activation input value and the raw
                                                                 15 activation value; and generating a weight enhanced preci-
   This specification relates to performing neural network
                                                                    sion value for the weight input value, the weight enhanced
computations in hardware.                                           precision value being a measure of difference between the
   Neural networks are machine learning models that                 weight input value and the raw weight value. Multiplying
employ one or more layers to generate an output, e.g., a            the activation input value and the weight input value to
classification, for a received input. Some neural networks 20 generate the product value can include the actions of mul-
include one or more hidden layers in addition to an output          tiplying, by the multiplication circuitry of the matrix com-
layer. The output of each hidden layer is used as input to          putation unit, the input value by the weight input value, the
another layer in the network, e.g., the next hidden layer or        input value by the weight enhanced precision value, the
the output layer of the network. Each layer of the network          weight input value by the activation enhanced precision
generates an output from a received input in accordance with 25 value, and the activation enhanced precision value by the
current values of a respective set of parameters.                   weight enhanced precision value; and combining products of
                                                                    the multiplications to generate the product value.
                         SUMMARY                                       Other embodiments of this aspect include corresponding
                                                                    computer systems, apparatus, and computer programs
   In general, this specification describes a special-purpose 30 recorded on one or more computer storage devices, each
hardware circuit that computes neural network inferences.           configured to perform the actions of the methods. A system
   In general, one innovative aspect of the subject matter          of one or more computers can be configured to perform
described in this specification can be embodied in methods          particular operations or actions by virtue of software, firm-
of performing a matrix multiplication using a hardware              ware, hardware, or any combination thereof installed on the
circuit that include the actions of obtaining, by a matrix 35 system that in operation may cause the system to perform the
computation unit of the hardware circuit, an input activation       actions. One or more computer programs can be configured
value and a weight input value, the input activation value          to perform particular operations or actions by virtue of
and the weight input value each having a first floating point       including instructions that, when executed by data process-
format; multiplying, by a multiplication circuitry of the           ing apparatus, cause the apparatus to perform the actions.
matrix computation unit, the input activation value and the 40         Another innovative aspect of the subject matter described
weight input value to generate a product value, the product         in this specification can be embodied in hardware circuits
value having a second floating point format that has a higher       that include a matrix computation unit configured to perform
precision than the first floating point format and has a            a first group of operations including: obtaining an activation
dynamic range that is at least as large as the dynamic range        input value and a weight input value, the activation input
of the first floating point format; obtaining, by the matrix 45 value and the weight input value both having a first floating
computation unit, a partial sum value in a third floating point     point format; storing the weight input value in a weight
format that has a higher precision than the first floating point    register, the weight register being configured to store values
format and has a dynamic range that is at least as large as the     having the first floating point format; multiplying, a using
dynamic range of the first floating point format; and com-          multiplication circuitry of the hardware circuit, the activa-
bining, by a summation circuitry of the hardware circuit, at 50 tion input value and the weight input value to generate a
least the partial sum value and the product value to generate       product value, the product value having a second floating
an updated partial sum value that has the third floating point      point format that has a higher precision than the first floating
format.                                                             point format and has a dynamic range that is at least as large
   Embodiments of this aspect can include one or more of            as the dynamic range of the first floating point format;
the following optional features. The precision of a floating 55 obtaining a partial sum value in a third floating point format
point format can be determined based on a count of available        that has a higher precision than the first floating point format
bits for a significand in the floating point format and the         and has a dynamic range that is at least as large as the
dynamic range of a floating point format can be determined          dynamic range of the first floating point format; storing the
based on a count of available bits for an exponent in the           partial sum value in a sum in register, the sum in register
floating point format. The second floating point format can 60 being configured to store values having the third floating
have the same dynamic range as the first floating point             point format; and combining, using a summation circuitry of
format and the third floating point format can have the same        the matrix computation unit, the partial sum value and the
dynamic range as the first floating point format. The third         product value to generate an updated partial sum value that
floating point format can have a higher precision than the          has the third floating point format.
second floating point format.                                    65    Embodiments of this aspect can include one or more of
   The hardware circuit can be configured to perform com-           the following optional features. The first group of operations
putations for a neural network having a plurality of layers,        can include storing the activation input value in an activation




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register, the activation register being configured to store           FIG. lC shows an example neural network processing
values having the first floating point format. The first group     system.
of operations can include storing the weight input value in           FIG. 2 illustrates an example architecture including a
a weight register, the weight register being configured to         matrix multiply unit. The matrix multiply unit is a two-
store values having the first floating point format. The first 5 dimensional systolic array.
group of operations can include storing the partial sum value         FIG. 3 illustrates an example architecture of a multi-cell
in a sum in register, the sum in register being configured to      inside a systolic array.
store values having the third floating point format. The              FIG. 4 shows an example architecture of a cell in a matrix
hardware circuit can include an external summation circuitry       computation unit.
outside the matrix computation unit. The first group of 10            FIG. 5 shows an example architecture of a vector com-
operations can include receiving a request to process the raw      putation unit.
activation value with enhanced precision; generating an
                                                                      FIG. 6 shows an example format for a floating point value.
activation enhanced precision value for the input value, the
                                                                      FIG. 7 shows an example architecture for multiplication
activation enhanced precision value being a measure of
                                                                   circuitry of a matrix computation cell.
difference between the activation input value and the raw 15
activation value; and generating a weight enhanced preci-             FIG. 8 is a flow diagram of an example process for
sion value for the weight input value, the weight enhanced         performing matrix multiplication using a matrix computa-
precision value being a measure of difference between the          tion unit.
weight input value and the raw weight value. Multiplying              FIG. 9 is a flow diagram of an example process for
the activation input value and the weight input value to 20 performing multiplication of an activation input value by a
generate the product value can include the actions of mul-         weight input value.
tiplying, by the multiplication circuitry of the matrix com-          Like reference numbers and designations in the various
putation unit, the input value by the weight input value, the      drawings indicate like elements.
input value by the weight enhanced precision value, the
weight input value by the activation enhanced precision 25                          DETAILED DESCRIPTION
value, and the activation enhanced precision value by the
weight enhanced precision value. The external sunmiation              A neural network having multiple layers can be used to
circuitry can be configured to perform a second group of           perform computations. For example, given an input, the
operations including combining products of the multiplica-         neural network can compute an inference for the input. The
tions to generate the product value.                            30 neural network computes this inference by processing the
   Other embodiments of this aspect include corresponding          input through each of the layers of the neural network. Each
computer systems, apparatus, and computer programs                 layer receives an input and processes the input in accordance
recorded on one or more computer storage devices, each             with the set of weights for the layer to generate an output.
configured to perform the actions of the first group of               Therefore, in order to compute an inference from a
operations and/or the second group of operations. A system 35 received input, the neural network receives the input and
of one or more computers can be configured to perform              processes it through each of the neural network layers to
particular operations or actions by virtue of software, firm-      generate the inference, with the output from one neural
ware, hardware, or any combination thereof installed on the        network layer being provided as input to the next neural
system that in operation may cause the system to perform the       network layer. Data inputs to a neural network layer, e.g.,
actions. One or more computer programs can be configured 40 either the input to the neural network or the outputs of the
to perform particular operations or actions by virtue of           layer below the layer in the sequence, to a neural network
including instructions that, when executed by data process-        layer can be referred to as activation inputs to the layer.
ing apparatus, cause the apparatus to perform the actions.            In some implementations, the layers of the neural network
   Particular embodiments of the subject matter described in       are arranged in a sequence. In some other implementations,
this specification can be implemented so as to realize one or 45 the layers are arranged as directed graph. That is, any
more of the following advantages. A hardware circuit can           particular layer can receive multiple inputs, multiple out-
perform matrix multiplication with reduced overflow and/or         puts, or both. The layers of the neural network can also be
loss of precision. A hardware circuit can perform matrix           arranged such that an output of a layer can be sent back as
multiplication with enhanced precision beyond the precision        an input to a previous layer.
provided by the floating point format of input registers in the 50    The neural network can also be trained to determine
hardware circuit. A hardware circuit can perform matrix            trained values of the weights of the layers in the neural
multiplication on an input matrix whose values are stored          network. Generally, during the training, inputs are processed
using an IEEE single-precision floating point format with          using the neural network and the weights are adjusted based
reduced overflow even though the hardware circuit stores           on the outputs generated by the neural network for the
the input matrix values in a floating point format with 16 55 inputs.
bits.                                                                 This specification describes special-purpose hardware cir-
   The details of one or more embodiments of the subject           cuitry that performs neural network computations, i.e., infer-
matter of this specification are set forth in the accompanying     ence or training operations, including matrix multiplication
drawings and the description below. Other features, aspects,       operations performed by the neural network layers.
and advantages of the subject matter will become apparent 60          FIG. lA shows a high-level diagram of an example
from the description, the drawings, and the claims.                special-purpose hardware chip for training a neural network.
                                                                   As illustrated, a single special-purpose hardware chip
       BRIEF DESCRIPTION OF THE DRAWINGS                           includes two independent processors (102a, 102b). Each
                                                                   processor (102a, 102b) contains two distinct cores: (1) a
   FIG. lA shows a high-level diagram of an example 65 compute core, i.e., a very long instruction word (VLIW)
special-purpose hardware chip for training a neural network.       machine, (103a, 103b) and (2) a sparse computation core,
   FIG. 1B shows a high-level example of compute core.             i.e., an embedding layer accelerator, (105a, 105b).




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    Each compute core (103a, b) is optimized for dense linear      (104) or the vector processor and the vector memory (108).
algebra problems. Each compute core executes its own               The granularity of loads and stores between the vector
stream of very long instruction word instructions.                 processor and the vector memory is a vector of 128 32-bit
    An example sparse computation core (105a, b) maps very         words. Direct memory access occurs between the scalar
sparse, high-dimensional data into dense, low-dimensional 5 memory (104) and the HBM (110) and the vector memory
data so that the rest of the layers process densely packed         (108) and the HBM (110). In some implementations,
input data. For example, the sparse computation core can           memory transfers from the HBM (110) to the processors
perform the computation of any embedding layers in the             (107) may only be done through the scalar or vector memo-
neural network being trained.                                      ries. Additionally, there may be no direct memory transfers
    To perform this sparse-to-dense mapping, the sparse com- 10 between the scalar memory and the vector memory.
putation core uses a pre-built lookup table, an embedding             Instructions may specify extended vector unit operations.
table. For example, when there is a series of query words as       Along with each executed vector unit instruction, there are
user input, each query word is converted into a hash iden-         two-dimensional, i.e., 128 by 8, vector units that each can
tifier or a one-hot encoded vector. Using the identifier as a      send one register value to the extended vector units as input
table index, the embedding table returns the corresponding 15 operands. Each extended vector unit takes the input oper-
dense vector, which can be an input activation vector to the       ands, performs corresponding operations, and returns the
next layer. The sparse computation core can also perform           results back to the vector processor (306). The extended
reduction operations across the search query words to create       vector units will be described below with respect to FIG. 4.
one dense activation vector. The sparse computation core              FIG. lC shows an example special-purpose integrated
performs efficient sparse, distributed lookups since the 20 circuit 100 for performing neural network computations. As
embedding table can be huge and not fit in the limited             illustrated, the chip contains two compute cores (103a,
capacity high bandwidth memory of one of the special-              103b) and two sparse computation cores (152a, 152b).
purpose hardware chips. More details about the sparse                 The chip has a shared area which includes a host interface
computation core functionality can be found in U.S. patent         to a host computer (150), four stacks of high bandwidth
application Ser. No. 15/016,486, entitled MATRIX PRO- 25 memory along the bottom (156a-156d), and an inter-chip
CESSING APPARATUS, which was filed on Feb. 5, 2016.                interconnect (148) connecting the interfaces and memory
    FIG. lB shows a high-level example of compute core             together, as well as data from other chips. Two stacks of high
(101). The compute core can be a machine, i.e., a VLIW             bandwidth memory (156a-b, 156c-d) are associated with
machine, that controls several compute units in parallel.          each compute core (103a, 103b).
Each compute core (101) contains: a scalar memory (104), 30           The chip stores data in high bandwidth memory (156c-d),
a vector memory (108), a scalar processor (107), vector            reads the data in and out of vector memory (108), and
registers (106), and extended vector units (i.e., a matrix         processes the data. The compute core (103b) itself includes
multiply unit (MXU) (113), a transpose unit (XU) (114), and        a vector memory (108) that is on-chip S-RAM which is
a reduction and permutation unit (RPU) (116)).                     divided into two dimensions. The vector memory has
    An example scalar processor performs VLIW instruction 35 address space in which addresses hold floating point num-
fetch/execute loop and controls the compute core. After            bers, i.e., 128 numbers that are each 32-bits. The compute
fetching and decoding an instruction bundle, the scalar            core (103b) also includes a computational unit that computes
processor itself only executes the instructions found in the       values and a scalar unit that controls the computational unit.
scalar slots of the bundle using multiple, multi-bit registers,       The vector processor consists of a 2-dimensional array of
i.e., 32 32-bit registers of the scalar processor (107) and 40 vector processing units, i.e., 128x8, which all execute the
scalar memory (104). The scalar instruction set includes           same instruction in a single instruction, multiple-data
normal arithmetic operations, e.g., as used in address cal-        (SIMD) marmer. The vector processor has lanes and sub-
culations, load/store instructions, and branch instructions.       lanes, i.e., 128 lanes and 8 sublanes. Within the lane, the
The remaining instruction slots encode instructions for the        vector units communicate with each other through load and
vector processor or other extended vector units (113, 114, 45 store instructions. Each vector unit can access one 4-byte
116). The decoded vector instructions are forwarded to the         value at a time. Vector units that do not belong to the same
vector processor.                                                  lane cannot communicate directly. These vector units must
   Along with vector instructions, the scalar processor (107)      use the reduction/permutation unit which is described below.
can forward values of up to three scalar registers to the other       The computational unit includes vector registers, i.e., 32
processor and units to perform operations. The scalar pro- 50 vector registers, in a vector processing unit (106) that can be
cessor can also directly retrieve computation results from the     used for both floating point operations and integer opera-
vector processor. However, in some implementations, the            tions. The computational unit includes two arithmetic logic
example chip has a low-bandwidth communication path                units (ALUs) (126c-d) to perform computations. One ALU
from the vector processor to the scalar processor.                 (126c) performs floating point addition and the other ALU
   A vector instruction dispatcher sits between the scalar 55 (126d) performs floating point multiplication. Both ALUs
processor and the vector processor. This dispatcher receives       (126c-d) can perform various other operations such as shifts,
decoded instructions from the non-scalar VLIW slots and            masks, and compares. For example, a compute core (103b)
broadcasts those instructions to the vector processor. The         may want to add a vector register, V 1 , and a second vector
vector processor is described in detail with respect to FIG.       register, V 2 , and put the results in a third vector register, V 3 .
lC.                                                             60 In order to compute the addition, the compute core (103b)
    An example scalar processor (107) accesses a small, fast,      performs multiple, i.e., 1024, operations in one clock cycle.
private scalar memory (104), which is backed up by a much          Using these registers as operands, each of the vector units
larger, but slower High Bandwidth memory (HBM) (110).              can simultaneously execute two ALU instructions, and one
Similarly, an example vector processor accesses a small,           load and one store instruction, every clock cycle. A base
fast, private vector memory (108), which is also backed up 65 address for a load or a store instruction can be computed in
by the HBM (110). Word-granularity access occurs between           the scalar processor and forwarded to the vector processor.
either the scalar processor (107) and the scalar memory            Each of the vector units in each sublane can compute its own




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offset address using various methods such as striding and a        vector of processed outputs can be used as activation inputs
special indexed address register.                                  to the matrix multiply unit 112, e.g., for use in a subsequent
   The computational unit also contains an extended unary          layer in the neural network.
pipeline (EUP) (116) that performs operations such as                 The transpose unit transposes a matrix. The transpose unit
square root and reciprocal. The compute core (103b) takes 5 (114) takes in numbers and transposes them so that the
three clock cycles to perform these operations since they          number across a lane is transposed with the number in the
take in one operand at a time. Since the EUP processing            other dimension. In some implementations, the vector pro-
takes more than one clock cycle, there is a first-in-first-out     cessor includes 128x8 vector units. Therefore, to transpose
data storage to store results. When an operation is finished,      a 128x128 matrix, sixteen individual transpose instructions
                                                                10 are needed for the full matrix transpose. Once the transpo-
the results are stored in the FIFO. The compute core can use
                                                                   sition is finished, the transposed matrix will be available.
a separate instruction at a later time to pull the data out of
                                                                   However, an explicit instruction is needed to move the
the FIFO and put it in the vector register. A random number
                                                                   transposed matrix into the vector register file.
generator (120) allows the compute core (103b) to generate            The reduction/permutation unit (or units 115, 116)
random numbers per cycle, i.e., 128 random numbers per 15 addresses the problem of cross-lane communication by
cycle.                                                             supporting various operations such as permutation, lane
   As described above, each processor has three extended           rotation, rotating permutation, lane reduction, permuted lane
vector units: a matrix multiply unit (113) which performs          reduction, and segmented permuted lane reduction. As illus-
matrix multiplication operations; a cross-lane unit (XLU)          trated, these computations are separate, however, a compute
that includes a transpose unit (XU) (114) which performs a 20 core can use one or the other or one chained to the other. The
transposition operation of a matrix, i.e., 128 by 128 matrix,      reduction unit (115) reduces each line of numbers and feeds
and a reduction and permutation unit (illustrated as separate      the numbers into the permutation unit (116). The permuta-
units in FIG. lC, reduction unit 115 and permutation unit          tion unit alters data between different lanes. The transpose
116).                                                              unit, the reduction unit, the permutation unit, and the matrix
   The matrix multiply unit performs matrix multiplications 25 multiply unit each take more than one clock cycle to
between two matrices. The matrix multiply unit (113) takes         complete. Therefore, each unit has a FIFO associated with it
in data since the compute core needs to load in a set of           so that the results of computations can be pushed to the FIFO
numbers which is the matrix that is going to be multiplied.        and a separate instruction can be executed at a later time to
As illustrated, data comes from the vector registers (106).        pull the data out of the FIFO and into a vector register. By
Each vector register contains 128x8 numbers, i.e., 32-bit 30 using FIFOs, the compute core does not require multiple
numbers. However, floating point conversion may occur as           vector registers to be reserved for the duration of lengthy
data is sent to the matrix multiply unit (113) to change the       operations. As illustrated, each of the units takes data from
numbers to a smaller bit size, i.e., from 32-bit to 16-bit. A      the vector registers (106).
serializer (130) ensures when numbers are read out of the             The compute core uses a scalar unit to control the com-
vector registers, a two-dimensional array, i.e., a 128 by 8 35 putational unit. The scalar unit has two primary functions:
matrix, is read as sets of 128 numbers that are sent to the        (1) performing loop counting and addressing and (2) gen-
matrix multiply unit (113) for each of the next eight clock        erating direct memory address (DMA) requests so that the
cycles. After the matrix multiply has completed its compu-         DMA controller moves data in the background between the
tations, the results are deserialized (132a,b) which means         high bandwidth memory (156c-d) and vector memory (108)
that result matrix is held for a number of clock cycles. For 40 and then to the inter-chip connect (148) to other chips in an
example, for a 128x8 array, 128 numbers are held for each          example system. The scalar unit contains an instruction
of 8 clock cycles and then pushed to a FIFO, the transpose         memory (104), an instruction decode and issue (102), scalar
result FIFO (TRF) 134 or the multiply result FIFO (MRF)            processing unit (107) that contains scalar registers, i.e.,
136 so that a two-dimensional array of 128x8 numbers can           32-bit, a scalar memory (104), and two ALUs (126a,b) for
be grabbed in one clock cycle and stored in the vector 45 performing two operations per clock cycle. The scalar unit
registers (106).                                                   can feed operands and immediate values into the vector
   Over a period of cycles, i.e., 128 cycles, weights are          operations. Each instruction can be sent from the instruction
shifted into the matrix multiply unit (113) as the numbers by      decode and issue (102) as an instruction bundle that contains
which to multiply the matrix. Once the matrix and weights          the instructions that execute on the vector registers (106).
have been loaded, the compute core (103b) can send sets of 50 Each instruction bundle is a very long instruction word
numbers, i.e., 128x8 numbers, to the matrix multiply unit          (VLIW) with each instruction being a number of bits wide,
(113). Each line of the set can be multiplied by the matrix to     divided into a number of instruction fields.
produce a number of results, i.e. 128, results per clock cycle.       FIG. 2 illustrates an example architecture 200 that
While the compute core is performing matrix multiplies, the        includes matrix multiply units (MXU s) 201a and 201b. Each
compute core also shifts new sets of numbers in the back- 55 MXU is a two-dimensional systolic array. The array is wired
ground to be the next matrix by which the compute core will        to perform matrix multiply operations. An MXU multiplies
multiple so that the next matrix is available when the             a 128-element vector by a pre-loaded 128x128 matrix, with
computational process for the previous matrix has com-             a constant throughput of one multiplication per clock cycle.
pleted. The matrix multiply unit (113) can process weight             Each MXU may have 128 rows and 128 colunms. An
inputs and activation inputs and provide a vector of outputs 60 MXU can be divided into identical blocks, referred to as
to the vector registers 106. The vector processing unit can        tiles. For example, an MXU can be divided into 32 tiles,
process the vector of outputs and store a vector of processed      each of which contain 32 rows by 16 colunms. Each tile can
outputs to the vector memory. For example, the vector              further be divided into multiply-add sub unit cells. Each cell
processing unit can apply a non-linear function to outputs of      takes a vector data input operand, multiplies the operand by
the matrix multiply unit to generate activated values. In 65 stored weights to obtain a result, and adds the result to a
some implementations, the vector computation unit 114              partial sum to produce a new partial sum. In some imple-
generates normalized values, pooled values, or both. The           mentations, the sub-unit cells can be grouped into larger




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multi-cells, i.e., 2x2 arrays of multiply-add sub-unit cells or      evenly across the MXU with the value O at the left side and
4x4 arrays of multiply-add sub-unit cells, referred to as            the value 127 at the right side.
sedecim cells. Instead of moving input data from one                    The LHS data bus delivers 128 16-bit floating point
multiply-add sub-unit cell to the next at a rate of one per          numbers in a specific format, e.g., bfloat, to be multiplied by
clock cycle, the data can move across the systolic array at 5 the matrix stored in the connected MXU. The data of the
one multi-cell per clock cycle.                                      LHS data bus comes from the vector processing unit and
   Before beginning a series of vector-matrix multiplies, a          passes through the transpose unit, e.g., 114a and 114b. When
matrix needs to be pre-loaded into the MXU. The data for             the LHS input arrives at the MXU, the values are spread
this matrix is called the "weights" data. The weights matrix         evenly across the MXU with value O at the left side and
                                                                  10 value 127 at the right side.
is delivered to the MXU over source buses by the buses
                                                                        The result of the matrix multiply is spread evenly across
connected to the MXU and shifted into weight shift regis-
                                                                     the MXU and sent from the MXU to the matrix result FIFO
ters. The contents of the weight shift registers are then
                                                                     (MRF), e.g., 136a and 136b. Results from the XUs are sent
loaded into a weight matrix register so that the matrix              to the corresponding transpose result FIFO (TRF), e.g., 134a
multiplication can begin.                                         15 and 134b.
   As illustrated in FIG. 2, each MXU, e.g., 113a and 113b,             FIG. 3 illustrates an example architecture of a multi-cell
is connected to three buses, a first source bus for non-             inside a matrix multiply unit. As discussed above, the matrix
transposed weights (230a, 240b), a second source bus for             multiply unit is a two-dimensional systolic array. The array
transposed weights (220a, 220b), and a left-hand side bus            includes multiple multiply-add sub-units that can be grouped
(210a, 210b) for vector data to be multiplied by the matrix 20 into multi-cells. In some implementations, a first dimension
stored in the MXU. The MXUs are connected to the buses               of the systolic array corresponds to colunms of cells and a
by wires that attach to the edges of the MXU. Each transpose         second dimension of the systolic array corresponds to rows
unit (XU), e.g., 114a and 114b, is also connected to the first       of cells. The systolic array can have more rows than col-
source bus and the second source bus.                                unms, more colurmis than rows, or an equal number of
   The first and second source buses are multi-purpose buses 25 colurmis and rows. This specification describes certain pro-
that contain data sent from the vector processing unit to be         cessing for colunms or vertically. However, different designs
consumed by either the XU or MXU. Data processing occurs             can perform the processing for rows or horizontally.
in the vector processing data path, which includes vector               In the illustrated example, left-hand side data registers
registers 206, a serialize processing unit 202, and a selection      315a, 315b send vector data inputs to rows of the array.
unit 204. There are several ways that the vector processing 30 Weight shift chains 301Aand 301B send weight input values
unit can send weights on a bus. The weights may be sent              to colunms of the array, and weight shift chains 302a and
normal, "hi," or "low." Eight 32-bit floating point numbers          302b send weight input values to rows of the array. A shift
per lane (one per sublane) are rounded to bfloats, 16-bit            chain is a wired pathway along which values can be passed,
floating point numbers. These values are packed into four            e.g., from a source bus and to each of various registers
pairs and sent to the MXU every other cycle over the course 35 within the matrix multiply unit.
of 8 cycles. The difference between normal, "hi," and "low"             Each weight shift register 305 is designed to shift weight
is how the vector processing unit does the floating point            content values from a source bus along the chain of weight
32-to-bfloat conversion. The weights may be packed mean-             shift registers 305. After all the data is shifted in, a parallel
ing that each of the eight 32-bit values per lane contains a         copy operation ensures that all the data is copied from the
packed pair of bfloats. Sixteen values, rather than eight, 40 weight shift registers 305 to the corresponding weight
values are sent to the MXU, using the source bus every cycle         matrix registers 325. When the data is in the weight matrix
for eight consecutive cycles. During the odd cycles, the low         registers 325, the data is used in any number of cycles of
16-bits of each sublane are sent to the MXU, and during the          multiplications. During this time, more weights may be (and
even cycles, the high 16-bits of each sublane are sent to the        typically are) shifted into the weight registers 305 in the
MXU. The weights may additionally or alternatively be sent 45 background in preparation for the next set of multiplications.
by byte. Each 32-bit operand contains a packed set of four              The left-hand side data registers 315a, 315b can receive
8-bit signed 2s complement integers. Each byte is converted          the vector data inputs. Each left-hand side data register holds
to a modified sign-magnitude value. These values are sent to         one LHS data item each clock cycle for one clock cycle.
the MXU by way of a source bus over eight consecutive                Each vector data input received by a multi-cell may be
cycles.                                                           50 free-flowing in a corresponding left-hand side register of the
   The weights may be sent as non-transposed or transposed           multi-cell, such as the left-hand side data registers 315a,
instructions using the first or second source buses and              315b. The left-hand side data registers store vector data
shifted into weight shift registers. When triggered with a           inputs which may be provided by a vector register or by an
load operation, the contents of the weight shift registers are       adjacent multi-cell located to the left of the given multi-cell,
loaded into weight matrices as described below. The load 55 depending on the position of the multi-cell within the array.
path from the weight shift registers to the weight matrix            For instance, if the multi-cell 300 is located at the left most
registers is also where conversion from modified sign-               position within the systolic array of the matrix multiply unit,
magnitude to bfloat is done with byte-mode data. A load              the vector data inputs are provided by a vector register. The
control bus indicates whether this conversion is to be done.         vector register may provide multiple different vector data
   Depending on the instruction being executed, the 32-bit 60 inputs to the multi-cell 300, in which each received vector
values from the source buses may contain a packed pair of            data input then may be stored by a different one of the
16-bit floating point values with the values in bits [15:0]          left-hand side data registers 315. Each row receives one
representing the earlier (in time) value, or a packed set of         value each clock cycle, regardless of the number of rows that
four 8-bit integers in modified sign-magnitude format with           are grouped into a multi-cell.
the value in bits [7:0] representing the earliest (in time) value 65    Each left-hand side register may be coupled to cells along
and the other values following sequentially. When the MXU            a first dimension of the array of multi-cells. The connection
receives data from the buses, the data values are spread             of the left-hand side registers to the cells is indicated by




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dotted lines in FIG. 3. For example, left-hand side data             partial sum registers 310b, 311b that store the accumulated
register 315a (a left-hand side data register) in the multi-cell     outputs from each colunm of multi-cells. For each column of
is coupled to the cells 350a and 350c of the first row.              the multi-cell, the products generated by the sub-unit cells in
Similarly, left-hand side data register 315b (a second left-         the colunm are combined with the incoming partial sum
hand register) in the multi-cell is coupled to the cells 350b 5 from the multi-cell above, and then sent on as the next partial
and 350d of the second row. Each left-hand side register 315         sum. For certain multi-cells, e.g., the multi-cells in the
transfers the stored vector data input to the cells 350 to           bottom colunm of the systolic array, the accumulated outputs
which the left-hand register is coupled. Thus, for a given           may include final accumulated values that can be transferred
number of cells extending along a first dimension (e.g.,             to a vector computation unit. In some implementations, the
along a given row or along a given colunm), the vector data 10 final accumulated values are transferred directly from the
inputs can be passed to all cells in the multi-cell, and not just    bottom multi-cells of the array to the vector computation
a single cell, thereby causing the activation input to spread        unit while in other implementations, the final accumulated
quickly throughout the array of cells, improving the effi-           values are first stored in a memory or are processed by a
ciency of operation of the multi-cell.                               different component before being sent to the vector compu-
   The multiple vector data inputs can also be sent to an 15 tation unit.
adjacent left-hand side register so that multiple vector data           In some implementations, on each clock cycle, each cell
inputs can be used at another multi-cell of the array. This          multiplies a given weight input and left-hand side data input
process allows vector inputs to be shifted for use in another        to generate a product value. A cell can then combine the
particular multi-cell of the array.                                  product value with a partial sum value received from another
   Each cell 350 of a multi-cell 300 contains a stored weight 20 cell to generate an updated partial sum value. The cell can
value. Before beginning a matrix multiply process, weights           then transmit the partial sum value to another cell in the
are loaded by shifting them into the cells of the systolic           matrix computation unit.
array. Dedicated chains and weight shift registers are pro-             FIG. 4 shows an example architecture 400 of a cell inside
vided for weight shifting so that new weights can be shifted         a systolic array.
in concurrently with the execution of previous matrix mu!- 25           The cell can include an activation register 406 that stores
tiply processing. Weight inputs can be loaded into multi-            an activation input. The activation register can receive the
cells in ways that lower the latency of the overall matrix           activation input from a left adjacent cell, i.e., an adjacent cell
multiply operational processing.                                     located to the left of the given cell, or from a unified buffer,
   As discussed above, the weight shift chains 301, 302 can          depending on the position of the cell within the systolic
receive weight inputs from a source bus. The shift chains can 30 array. The cell can include a weight register 402 that stores
send multiple corresponding weight inputs to the weight              a weight input. The weight input can be transferred from a
registers 325 associated with the multi-cell 300.                    top adjacent cell or from a weight fetcher interface, depend-
   In some implementations, weight shift registers shift             ing on the position of the cell within the systolic array. The
vector data inputs throughout the array along one dimension,         cell can also include a sum in register 404. The sum in
e.g., to the right, while shifting weight input throughout the 35 register 404 can store an accumulated value from the top
array along one or both dimensions, e.g., to the right or to the     adjacent cell. The activation register 406 and the weight
bottom. For example, over one clock cycle, each vector data          register 402 can be registers that are configured to store
input of the multiple activation inputs at multi-cell 300 can        values of a particular size, such as floating point values of a
shift to a corresponding left-hand side data register in the         particular format.
next multi-cell in the same row. Horizontal data (left-hand- 40         Multiplication circuitry 408 can be used to multiply the
side data) and vertical data (partial sums) each move by one         weight input from the weight register 402 with the activation
multi-cell per clock cycle, every clock cycle. Weights only          input from the activation register 406. The multiplication
shift when instructed by the system and, depending on the            circuitry 408 can output the product to summation circuitry
implementation and the instructions executed, may shift 1,           410. In some implementations, the input and output values
2, or 4 rows (or colunms).                                        45 of the multiplication circuitry 408 may be of different sizes
   A multiplexer 330 selects a weight either from a weight           and/or formats.
shift register 305 of the first shift chain 301 or the second           The summation circuitry 410 can sum the product and the
shift chain 302 and forwards the selected input into a single        accumulated value from the sum in register 404 to generate
line into the weight matrix register 325. Although multi-            a new accumulated value. The summation circuitry 410 can
plexers 330 are shown outside of the cell 350 boundary 50 then send the new accumulated value to another sum in
lines, in some implementations the multiplexers 330 exist            register located in a bottom adjacent cell. The new accumu-
within the cells 350.                                                lated value can be used as an operand for a summation in the
   On a clock cycle, each multi-cell can process the multiple        bottom adjacent cell. The summation circuitry 410 can also
given weight inputs and the multiple given activation inputs         accept a value from the sum in register 404 and send the
to generate multiple accumulated outputs. Generally, pro- 55 value from the sum in register 404 to a bottom adjacent cell
cessing includes a multiplication operation to multiply an           without summing the value from the sum in register 404
activation input with a stored weight. The accumulated               with the product from the multiplication circuitry 408. In
outputs can also be passed to an adjacent multi-cell down            some implementations, the input values of the summation
along the same dimension as the given weight inputs. In              circuitry 410 may be of different sizes and/or formats. In
some implementations, weights are shifted more than one 60 some implementations, some input and output values of the
multi-cell during a given clock cycle to transition from one         sUlllillation circuitry 410 may be of different sizes and/or
convolution calculation to another.                                  formats.
   The accumulated outputs can be passed along the same                 The cell can also shift the weight input and the activation
colunms as weight inputs, e.g., towards the bottom of the            input to adjacent cells for processing. For example, the
colunm in the array. In some implementations, a partial sum 65 weight path register 412 can send the weight input to another
register 310a, 311A passes a partial sum value into the              weight register in the bottom adjacent cell. The activation
multi-cell from a previous multi-cell. The array can include         register 406 can send the activation input to another activa-




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tion register in the right adjacent cell. Both the weight input       In some cases, the normalized form that the system uses
and the activation input can therefore be reused by other          to interpret floating point numbers contains one or more
cells in the array at a subsequent clock cycle.                    constant values. For example, the normalized form can
   In some implementations, the cell also includes a control       always be the form 1.XXXX*2'XXXX, where the integer
register. The control register can store a control signal that 5 portion of the first value is always constant, e.g., equal to 1.
determines whether the cell should shift either the weight         In some such cases, the significand 602 may only include the
input or the activation input to adjacent cells. In some           non-constant bits of the normalized value and not include
implementations, shifting the weight input or the activation       the constant bits. In these cases, the bits of the normalized
input takes one or more clock cycles. The control signal can       form that are constant and thus do not appear in the
                                                                10 significand 602 are said to be "hidden bits." A computer
also determine whether the activation input or weight inputs
                                                                   system interpreting a binary floating point value having
are transferred to the multiplication circuitry 408, or can
                                                                   hidden bits will add the hidden bits to the significand 602 in
determine whether the multiplication circuitry 408 operates
                                                                   accordance with the normalized form underlying the format
on the activation and weight inputs. The control signal can        600 of the value.
also be passed to one or more adjacent cells, e.g., using a 15        The marmer in which a computer system stores a binary
Wife.                                                            number as a floating point value depends on the normalized
   In some implementations, weights are pre-shifted into a       form that the system uses to interpret floating point numbers
weight path register 412. The weight path register 412 can       and the size of the significand 602 and the exponent 603 of
receive the weight input, e.g., from a top adjacent cell, and    the particular floating point format 600 used. For example,
transfer the weight input to the weight register 402 based on 20 a floating point format 600 may include a sign bit 601, 4 bits
the control signal. The weight register 402 can statically       of significand 602, and 3 bits of exponent 602, and a
store the weight input such that as activation inputs are        computer system can interpret a binary number having this
transferred to the cell, e.g., through the activation register   format 600 by assuming that the number has the normalized
406, over multiple clock cycles, the weight input remains        form X.XXX*2'XXX, where X is a single binary number,
within the cell and is not transferred to an adjacent cell. 25 i.e., a "0" or a "1". Moreover, the computer system can
Therefore, the weight input can be applied to multiple           assume that that the binary value before the decimal point in
activation inputs, e.g., using the multiplication circuitry 408, the first value of the normalized form is a hidden bit that is
and respective accumulated values can be transferred to an       always one and does not appear in the significand 602. Thus,
adjacent cell.                                                   such a computer system can store and interpret the binary
   FIG. 5 shows an example architecture 500 of a vector 30 number + 11.111 with a floating point value having a sign bit
computation unit 502. The vector computation unit 502 can        601 of "0" (because the binary number is positive), an
receive a vector of accumulated values from a matrix             exponent 603 of "001," and a significand 602 of 1111.
computation unit, e.g., the matrix computation unit 312             If a computer system carmot properly store a number
described in reference to FIG. 3.                                using a format, an attempt to store the number can cause an
   Control signals 510 can be transferred and can regulate 35 overflow and lead to unpredictable or undesirable behavior.
how the vector computation unit 502 processes the vector of      The example above illustrates that a computer system can
accumulated values. That is, the control signals 510 can         store a binary number whose number of digits exceed the
regulate whether the left-hand data values are pooled, where     maximum precision allowed in the significand 602 of the
the left-hand data values are stored or can otherwise regulate   format 600 adopted by the system without an overflow
handling of the activation values. The control signals 510 40 through rounding the digits. Even though such rounding
can also specify the activation or pooling functions, as well    leads to reduced precision, it will not cause an overflow.
as other parameters for processing the activation values or         On the other hand, if the dynamic range of a binary
pooling values, e.g., a stride value.                            number exceeds the maximum range allowed in the expo-
   The vector computation unit 502 can send values, e.g.,        nent 603 of the format 600, the computer system cannot
left-hand data values or pooled values. In some implemen- 45 round the dynamic range. Continuing the example given
tations, the pooling circuitry 508 receives the activation       above, the computer system cannot store and interpret the
values or pooled values and stores the activation values or      number 111111111.012 because the normalized form of that
pooled values in the unified buffer.                             number has a dynamic range of 10002 and this dynamic
   FIG. 6 shows an example format 600 for a floating point       range cannot be represented in the range of values allowed
value. Each of the values processed by a matrix computation 50 in the exponent 603 of the format 600 using the example
unit, e.g., the values stored by registers of cells of a matrix  exponent width of 3 bits.
computation unit, may be stored as a floating point value           As another example, the system may use a bfloat format
with a particular format.                                        of 8 bits of exponent and 7 bits of significand. To reduce the
   The format 600 is characterized by a sign bit 601, a group    possibility of an overflow, if an operation in a computer
of bits known as significand 602, and another group of bits 55 system in any way transforms a first floating point value
known as an exponent 603.                                        having a first format to a second floating point value having
   The sign bit 601 indicates whether a value stored using the   a second format, it is important that the dynamic range of the
format 600 is positive or negative. The significand 602          second format be greater than or equal to the dynamic range
includes one or more significant digits of a value stored        of the first format. This includes the circumstances in which
using the format 600. Therefore, the size, i.e., number of 60 the system is converting the first floating point value to the
bits, of the significand 602 of the format 600 represents a      second floating point value and the circumstances in which
maximum possible precision of any value stored using the         the system is applying an operation on the first floating point
format 600. The exponent 603 represents the power of a           value to generate the second floating point value. For
scaling base used to convert the stored value into a normal-     example, if the computer system multiplies two values
ized form. Therefore, the size of the exponent 603 of the 65 having a first format to generate a result value having a
format 600 represents a maximum possible dynamic range           second format, it is important that the dynamic range of the
of any value stored using the format 600.                        second format be greater than or equal to the dynamic range




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of the first format to reduce the possibility of an overflow. If    has a higher precision than the format of those input values,
the two values being multiplied have different formats, it is       the matrix computation unit reduces the likelihood of lost
important that the dynamic range of the second format be            precision in storing the result of the multiplication. By
greater than or equal to the dynamic range of the format            storing the result of multiplying the activation input value
having the greater dynamic range to reduce the possibility of 5 and the weight input value in a format that has a dynamic
an overflow.                                                        range that is at least as large as the dynamic range of the
   Examples of floating points formats 600 include an IEEE          format of those input values, the matrix computation unit
single-precision format, a bfloat format, and an expanded           also reduces the likelihood of overflow in storing the result
bfloat format.                                                      of the multiplication.
   The IEEE single-precision format is a 32-bit format that 10         Multiplying the activation input value and the weight
includes a sign bit 601, 8 bits of exponent 603, and a 23 bits      input value is described in greater detail below with refer-
of significand 602. A bfloat format is a 16-bit format that has     ence to FIGS. 8-9.
a sign bit 601, 8 bits of exponent 603, and 7 bits of                  In some implementations, the first floating point format is
significand 602. An expanded bfloat format is a 20-bit              a 16 bit format with a sign bit, an 8 bit exponent, and a 7 bit
format that includes a 20-bit format that includes a sign bit 15 significand that optionally does not include a hidden bit in
601, 8 bits of exponent 603, and 11 bits of significand 602.        the normalized form of a corresponding binary number, and
   Importantly, all the three formats noted above have the          the second floating point format is a 20 bit format with a sign
same exponent 602 size and thus the same dynamic range.             bit, an 8 bit exponent, and a 11 bit significand that optionally
However, the single-precision format allows for more pre-           does not include a hidden bit in the normalized form of a
cision than the expanded bfloat format, and the expanded 20 corresponding binary number.
bfloat format allows for more precision than the bfloat                The matrix computation unit obtains a partial sum value
format. To reduce the possibility of overflow but increase          in a third floating point format (806). The matrix computa-
precision, a matrix computation unit can store activation           tion unit can obtain the partial sum value from a cell in the
input and weight input values in registers holding values of        matrix computation unit.
the bfloat format, hold the product of the input values in a 25        The third floating point format has a higher precision than
register holding values of the expanded bfloat format, and          the first floating point format and has a dynamic range that
hold the sum of the product value and a partial sum value in        is at least as large as the dynamic range of the first floating
a register holding values of the IEEE single precision              point format. Therefore, the partial sum value has a format
format.                                                             that allows for greater precision than the format of the input
   FIG. 7 shows an example architecture 700 for multipli- 30 values and a dynamic range that is as at least as great as the
cation circuitry of a matrix computation cell. The matrix           dynamic range of the format of the input values.
computation cell depicted in FIG. 7 multiplies two input               In some implementations, the third floating point format
values, e.g., an activation input value 701 and a weight input      has a higher precision than the second floating point format.
value 702, to generate a resulting value, e.g., a product value     In other words, the three floating point formats can be
705.                                                             35 ranked in terms of their precision in the following order,
   The architecture 700 includes a multiplier 703 that mul-         starting with the format with the highest precision: the third
tiplies the significand and the sign bit of the two input values    floating point format, the second floating point format, and
to generate a significand and a sign bit of the resulting value     the first floating point format. In some implementations, the
and an adder 804 that adds the exponent of the two input            third floating point format has a dynamic range that is at
values to generate an exponent of the resulting value. The 40 least as great as the dynamic range of the second floating
combination of the significand and the sign bit and the             point format.
exponent of the resulting value generates the resulting value.         In some implementations, the third floating point format
   FIG. 8 is a flow diagram of an example process 800 for           is an IEEE standard 754 single precision format or other 32
performing matrix multiplication using a matrix computa-            bit format with a sign bit, an 8 bit exponent, and a 23 bit
tion unit. The process 800 can be performed by a matrix 45 significand that does not include a hidden bit in the normal-
computation unit, e.g., the matrix computation unit 113 of          ized form of a corresponding binary number.
FIG. 2, to perform matrix multiplication in accordance with            The matrix computation unit combines, using a summa-
an architecture of the matrix computation unit.                     tion circuitry of the matrix computation unit, the partial sum
   A matrix computation unit can perform the process 800            value and the product value to generate an updated partial
multiple times in parallel to compute a vector output that is 50 sum value having the third format (808). By storing the
a product of a vector and a matrix, e.g., an input vector           result of combining the product value and the partial sum
including multiple activation input values and a weight             value in the same format as the format of the partial sum
matrix including multiple activation weight values.                 value, the matrix computation unit reduces the likelihood of
   The matrix computation unit obtains an activation input          overflow or lost precision. This is especially the case in
value and a weight input value that both have a first floating 55 implementations in which the format of the product value,
point format (802). Obtaining the activation input and the          i.e., the second format, has a lower precision than the format
weight input values is described in greater detail below with       of the updated partial sum value, i.e., the third format. In
reference to FIG. 9.                                                such implementations, the matrix computation unit reduces
   The matrix computation unit multiplies, using a multipli-        the likelihood of lost precision by storing the result of the
cation circuitry of the matrix computation unit, the activa- 60 combination in a format that has a higher precision than the
tion input value and the weight input value to generate a           format of the product value. Similarly, in implementations in
product value having a second floating point format (804).          which the third format has a dynamic range that is at least
The second floating point format has a higher precision than        as great as the dynamic range of the second format, the
the first floating point format and has a dynamic range that        matrix computation unit reduces the likelihood of overflow
is at least as large as the dynamic range of the first floating 65 by storing the result of the combination in a format that has
point format. By storing the result of multiplying the acti-        a greater dynamic range than the format of the product
vation input value and the weight input value in a format that      value.




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   In some implementations, the matrix computation unit          the weight input value from the raw weight value. The
transmits the updated partial sum to another component of        system can do the subtraction of two values using appro-
the matrix computation unit, e.g., a cell in the matrix          priate circuitry outside the matrix computation unit, such as
computation unit or a multi-cell structure in the matrix         using summation circuitry outside the matrix computation
computation unit.                                              5 unit by adding a first value to a negation of a second value.
   FIG. 9 is a flow diagram of an example process 900 for        The activation enhanced precision value and the weight
performing a multiplication of an activation input value by      enhanced precision value are both values in the first floating
a weight input value. For convenience, the process 900 will      point format.
be described as being performed by a system of one or more          The system performs, using the matrix computation unit,
computers located in one or more locations. For example, a 10 a set of multiplications between (916) the activation input
neural network processing system, e.g., the neural network       value, the weight input value, the activation enhanced pre-
processing system 100 of FIG. 1, appropriately programmed        cision value, and the weight enhanced precision value. To
in accordance with this specification, can perform the pro-      perform a multiplication between two values using the
cess 900.                                                        matrix computation unit, the system provides the two values
   A neural network system can perform the process 900 15 to the matrix computation unit to cause the matrix compu-
multiple times in parallel to compute a vector output that       tation unit to perform a multiplication of the two values.
includes the higher-precision portion of the product of a           In some implementations, the set of multiplications
vector and a matrix, e.g., an input vector including multiple    include: multiplying the activation input value by the weight
activation input values and a weight matrix including mul-       input value, multiplying the activation input value by the
tiple activation weight values, and a vector outputs that 20 weight enhanced precision value, multiplying the weight
includes the lower-precision portion of the product of the       input value by the activation enhanced precision value, and
vector and the matrix.                                           multiplying the activation enhanced precision value by the
   The system obtains a raw activation value and a raw           weight enhanced precision value.
weight value (902). The system may obtain the raw values            Software instructions determine what subset of possible
from a neural network implementation engine of the system, 25 multiplications to include. In some implementations, the set
e.g., the neural network implementation engine 150 of FIG.       of multiplications only include multiplying the activation
1. The raw values may be in any format, such as an IEEE          input value by the weight input value and multiplying the
single-precision floating point format.                          activation enhanced precision value by the weight enhanced
   The system converts the raw activation value to a first       precision value. This technique can be used to reduce the
format to generate an activation input value (904) and 30 number of required multiplications when the system deter-
converts the raw weight value to the first format to generate    mines that at least some of the individual input values and
a weight input value (906). The system can store the number      enhanced precision values have a required level of exact-
represented by the raw activation value as a new value with      ness.
a new format.                                                       The enhanced precision values indicate at least some of
   The system determines if it has received a request to 35 the lower-precision portion of the raw values that were lost
multiply the raw activation value and the activation input       in rounding when storing the raw values in the input values
value with enhanced precision (908). The system may              that have the first format. By using those enhanced precision
receive this enhanced precision request from an end user of      values in a multiplication, the system can perform multipli-
the system and/or by a neural network implementation             cations that involve the higher precision portion of the raw
engine of the system, e.g., the neural network implementa- 40 values and thus produce a multiplication result that has a
tion engine 150 of FIG. 1. The request indicates that the        greater precision.
system must store the result of multiplying the raw activa-         The system then combines the products of the four
tion value and the activation input value with reduced loss      multiplications to generate (918) a first value in the first
of precision.                                                    format that that includes the lower precision portion of the
   In some implementations, the system receives an 45 result of multiplying the raw values and a second value in
enhanced precision request through software instructions,        the first format that includes the higher portion of the result
i.e., VLIW instruction bundles. These instruction bundles        of multiplying the raw values. In some implementations, the
may include matrix multiply instructions that have a number      system performs the summation using an external summa-
of different possible opcodes used to express various options    tion circuitry that is external to the matrix computation unit.
such as the constituent parts of an enhanced precision matrix 50    Embodiments of the subject matter and the functional
multiply. If the system determines that it has not received an   operations described in this specification can be imple-
enhanced precision request, the system multiplies, using a       mented in digital electronic circuitry, in tangibly-embodied
matrix computation unit of a hardware circuitry on which         computer software or firmware, in computer hardware,
the system is implemented, the activation input value and the    including the structures disclosed in this specification and
raw activation value as individual values to generate a 55 their structural equivalents, or in combinations of one or
product value having a second format (910).                      more of them. Embodiments of the subject matter described
   Otherwise, if the system determines that it has received an   in this specification can be implemented as one or more
enhanced precision request, the system generates an activa-      computer programs, i.e., one or more modules of computer
tion enhanced precision value that is the difference between     program instructions encoded on a tangible non transitory
the raw activation value and the activation input value (912) 60 program carrier for execution by, or to control the operation
and generates a weight enhanced precision value that is the      of, data processing apparatus. Alternatively or in addition,
difference between the raw weight value and the weight           the program instructions can be encoded on an artificially
input value (914). The system generates the difference           generated propagated signal, e.g., a machine generated elec-
between the activation input value and the raw input value       trical, optical, or electromagnetic signal, that is generated to
by subtracting the activation input value from the raw 65 encode information for transmission to suitable receiver
activation value and generates the difference between the        apparatus for execution by a data processing apparatus. The
weight input value and the raw weight value by subtracting       computer storage medium can be a machine-readable star-




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age device, a machine-readable storage substrate, a random          internal hard disks or removable disks; magneto optical
or serial access memory device, or a combination of one or          disks; and CD ROM and DVD-ROM disks. The processor
more of them.                                                       and the memory can be supplemented by, or incorporated in,
   The term "data processing apparatus" encompasses all             special purpose logic circuitry.
kinds of apparatus, devices, and machines for processing 5             To send for interaction with a user, embodiments of the
data, including by way of example a prograrmnable proces-           subject matter described in this specification can be imple-
sor, a computer, or multiple processors or computers. The           mented on a computer having a display device, e.g., a CRT
apparatus can include special purpose logic circuitry, e.g., an     (cathode ray tube) or LCD (liquid crystal display) monitor,
FPGA (field programmable gate array) or an ASIC (appli-             for displaying information to the user and a keyboard and a
cation specific integrated circuit). The apparatus can also 10 pointing device, e.g., a mouse or a trackball, by which the
include, in addition to hardware, code that creates an execu-       user can send input to the computer. Other kinds of devices
tion environment for the computer program in question, e.g.,        can be used to send for interaction with a user as well; for
code that constitutes processor firmware, a protocol stack, a       example, feedback provided to the user can be any form of
database management system, an operating system, or a               sensory feedback, e.g., visual feedback, auditory feedback,
combination of one or more of them.                              15 or tactile feedback; and input from the user can be received
   A computer program (which may also be referred to or             in any form, including acoustic, speech, or tactile input. In
described as a program, software, a software application, a         addition, a computer can interact with a user by sending
module, a software module, a script, or code) can be written        documents to and receiving documents from a device that is
in any form of programming language, including compiled             used by the user; for example, by sending web pages to a
or interpreted languages, or declarative or procedural lan- 20 web browser on a user's client device in response to requests
guages, and it can be deployed in any form, including as a          received from the web browser.
standalone program or as a module, component, subroutine,              Embodiments of the subject matter described in this
or other unit suitable for use in a computing environment. A        specification can be implemented in a computing system that
computer program may, but need not, correspond to a file in         includes a back end component, e.g., as a data server, or that
a file system. A program can be stored in a portion of a file 25 includes a middleware component, e.g., an application
that holds other programs or data, e.g., one or more scripts        server, or that includes a front end component, e.g., a client
stored in a markup language document, in a single file              computer having a graphical user interface or a Web browser
dedicated to the program in question, or in multiple coor-          through which a user can interact with an implementation of
dinated files, e.g., files that store one or more modules, sub      the subject matter described in this specification, or any
programs, or portions of code. A computer program can be 30 combination of one or more such back end, middleware, or
deployed to be executed on one computer or on multiple              front end components. The components of the system can be
computers that are located at one site or distributed across        interconnected by any form or medium of digital data
multiple sites and interconnected by a communication net-           communication, e.g., a communication network. Examples
work.                                                               of communication networks include a local area network
   The processes and logic flows described in this specifi- 35 ("LAN") and a wide area network ("WAN"), e.g., the
cation can be performed by one or more programmable                 Internet.
computers executing one or more computer programs to                   The computing system can include clients and servers. A
perform functions by operating on input data and generating         client and server are generally remote from each other and
output. The processes and logic flows can also be performed         typically interact through a communication network. The
by, and apparatus can also be implemented as, special 40 relationship of client and server arises by virtue of computer
purpose logic circuitry, e.g., an FPGA (field programmable          programs running on the respective computers and having a
gate array) or an ASIC (application specific integrated             client-server relationship to each other.
circuit).                                                              Embodiment 1 is a method of performing a matrix mul-
   Computers suitable for the execution of a computer               tiplication using a hardware circuit, the method comprising:
program include, by way of example, can be based on 45 obtaining, by a matrix computation unit of the hardware
general or special purpose microprocessors or both, or any          circuit, an input activation value and a weight input value,
other kind of central processing unit. Generally, a central         the input activation value and the weight input value each
processing unit will receive instructions and data from a read      having a first floating point format; multiplying, by a mul-
only memory or a random access memory or both. The                  tiplication circuitry of the matrix computation unit, the input
essential elements of a computer are a central processing 50 activation value and the weight input value to generate a
unit for performing or executing instructions and one or            product value, the product value having a second floating
more memory devices for storing instructions and data.              point format that has a higher precision than the first floating
Generally, a computer will also include, or be operatively          point format and has a dynamic range that is at least as large
coupled to receive data from or transfer data to, or both, one      as the dynamic range of the first floating point format;
or more mass storage devices for storing data, e.g., mag- 55 obtaining, by the matrix computation unit, a partial sum
netic, magneto optical disks, or optical disks. However, a          value in a third floating point format that has a higher
computer need not have such devices. Moreover, a computer           precision than the first floating point format and has a
can be embedded in another device, e.g., a mobile telephone,        dynamic range that is at least as large as the dynamic range
a personal digital assistant (PDA), a mobile audio or video         of the first floating point format; and combining, by a
player, a game console, a Global Positioning System (GPS) 60 sUlllillation circuitry of the hardware circuit, at least the
receiver, or a portable storage device, e.g., a universal serial    partial sum value and the product value to generate an
bus (USB) flash drive, to name just a few.                          updated partial sum value that has the third floating point
   Computer readable media suitable for storing computer            format.
program instructions and data include all forms of nonvola-            Embodiment 2 is the method of embodiment 1, wherein
tile memory, media and memory devices, including by way 65 the precision of a floating point format is determined based
of example semiconductor memory devices, e.g., EPROM,               on a count of available bits for a significand in the floating
EEPROM, and flash memory devices; magnetic disks, e.g.,             point format and the dynamic range of a floating point




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format is determined based on a count of available bits for           Embodiment 9 is the hardware circuit of embodiment 8,
an exponent in the floating point format.                          the first group of operations further comprising: storing the
   Embodiment 3 is the method of any one of embodiments            activation input value in an activation register, the activation
1-2, wherein the second floating point format has the same         register being configured to store values having the first
dynamic range as the first floating point format and the third 5 floating point format.
floating point format has the same dynamic range as the first         Embodiment 10 is the hardware circuit of any one of
floating point format.                                             embodiments 8-9, the first group of operations further com-
   Embodiment 4 is the method of any one of embodiments            prising: storing the weight input value in a weight register,
1-3, wherein the third floating point format has a higher          the weight register being configured to store values having
                                                                10 the first floating point format.
precision than the second floating point format.
                                                                      Embodiment 11 is the hardware circuit of any one of
   Embodiment 5 is the method of any one of embodiments
                                                                   embodiments 8-10, the first group of operations further
1-4, wherein: the hardware circuit is configured to perform
                                                                   comprising: storing the partial sum value in a sum in
computations for a neural network having a plurality of            register, the sum in register being configured to store values
layers, and the input activation value and the weight input 15 having the third floating point format.
value are associated with a layer of the plurality of layers.         Embodiment 12 is the hardware circuit of any one of
   Embodiment 6 is the method of any one of embodiments            embodiments 8-11, further comprising an external summa-
1-5, further comprising: obtaining a raw activation value and      tion circuitry outside the matrix computation unit, and
a raw weight value for the first matrix computation cell           wherein the first group of operations further comprises:
having the third floating point format; converting the raw 20 receiving a request to process the raw activation value with
activation value into the first floating point format to gen-      enhanced precision; generating an activation enhanced pre-
erate the input activation value; and converting the raw           cision value for the input value, the activation enhanced
weight value into the first floating point format to generate      precision value being a measure of difference between the
the weight input value.                                            activation input value and the raw activation value; and
   Embodiment 7 is the method of any one of embodiments 25 generating a weight enhanced precision value for the weight
1-6, further comprising: receiving a request to process the        input value, the weight enhanced precision value being a
raw activation value with enhanced precision; generating an        measure of difference between the weight input value and
activation enhanced precision value for the input value, the       the raw weight value; and wherein, multiplying the activa-
activation enhanced precision value being a measure of             tion input value and the weight input value to generate the
difference between the activation input value and the raw 30 product value comprises: multiplying, by the multiplication
activation value; and generating a weight enhanced preci-          circuitry of the matrix computation unit, the input value by
sion value for the weight input value, the weight enhanced         the weight input value, the input value by the weight
precision value being a measure of difference between the          enhanced precision value, the weight input value by the
weight input value and the raw weight value; and wherein,          activation enhanced precision value, and the activation
multiplying the activation input value and the weight input 35 enhanced precision value by the weight enhanced precision
value to generate the product value comprises: multiplying,        value, and wherein the external summation circuitry is
by the multiplication circuitry of the matrix computation          configured to perform a second group of operations com-
unit, the input value by the weight input value, the input         prising: combining products of the multiplications to gen-
value by the weight enhanced precision value, the weight           erate the product value.
input value by the activation enhanced precision value, and 40        Embodiment 13 is a system comprising one or more
the activation enhanced precision value by the weight              computers and one or more storage devices storing instruc-
enhanced precision value, and combining products of the            tions that are operable, when executed by the one or more
multiplications to generate the product value.                     computers, to cause the one or more computers to perform
   Embodiment 8 is a hardware circuit comprising: a matrix         the operations of the respective method of any one of
computation unit configured to perform a first group of 45 embodiments 1-7.
operations comprising: obtaining an activation input value            Embodiment 14 is a computer storage medium encoded
and a weight input value, the activation input value and the       with instructions that, when executed by one or more
weight input value both having a first floating point format;      computers, cause the one or more computers to perform the
storing the weight input value in a weight register, the           operations of the respective method of any one of embodi-
weight register being configured to store values having the 50 ments 1-7.
first floating point format; multiplying, a using multiplica-         Embodiment 15 is a system comprising one or more
tion circuitry of the hardware circuit, the activation input       computers and one or more storage devices storing instruc-
value and the weight input value to generate a product value,      tions that are operable, when executed by the one or more
the product value having a second floating point format that       computers, to cause the one or more computers to perform
has a higher precision than the first floating point format and 55 the operations of the respective hardware circuit of any one
has a dynamic range that is at least as large as the dynamic       of embodiments 8-12.
range of the first floating point format; obtaining a partial         Embodiment 16 is a computer storage medium encoded
sum value in a third floating point format that has a higher       with instructions that, when executed by one or more
precision than the first floating point format and has a           computers, cause the one or more computers to perform the
dynamic range that is at least as large as the dynamic range 60 operations of the respective hardware circuit of any one of
of the first floating point format; storing the partial sum        embodiments 8-12.
value in a sum in register, the sum in register being config-         While this specification contains many specific imple-
ured to store values having the third floating point format;       mentation details, these should not be construed as limita-
and combining, using a summation circuitry of the matrix           tions on the scope of any invention or of what may be
computation unit, the partial sum value and the product 65 claimed, but rather as descriptions of features that may be
value to generate an updated partial sum value that has the        specific to particular embodiments of particular inventions.
third floating point format.                                       Certain features that are described in this specification in the




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context of separate embodiments can also be implemented in             3. The method of claim 1, wherein the second floating
combination in a single embodiment. Conversely, various             point format has the same dynamic range as the first floating
features that are described in the context of a single embodi-      point format and the third floating point format has the same
ment can also be implemented in multiple embodiments                dynamic range as the first floating point format.
separately or in any suitable subcombination. Moreover, 5              4. The method of claim 1, wherein the third floating point
although features may be described above as acting in               format has a higher precision than the second floating point
certain combinations and even initially claimed as such, one        format.
or more features from a claimed combination can in some                5. The method of claim 1, further comprising:
cases be excised from the combination, and the claimed                 obtaining a raw activation value and a raw weight value
combination may be directed to a subcombination or varia- 10              for the first matrix computation cell having the third
tion of a subcombination.                                                 floating point format;
   Similarly, while operations are depicted in the drawings in         converting the raw activation value into the first floating
a particular order, this should not be understood as requiring            point format to generate the input activation value; and
that such operations be performed in the particular order              converting the raw weight value into the first floating
shown or in sequential order, or that all illustrated operations 15       point format to generate the weight input value.
be performed, to achieve desirable results. In certain cir-            6. The method of claim 5, further comprising:
cumstances, multitasking and parallel processing may be                receiving a request to process the raw activation value
advantageous. Moreover, the separation of various system                  with enhanced precision;
modules and components in the embodiments described                    generating an activation enhanced precision value for the
above should not be understood as requiring such separation 20            input value, the activation enhanced precision value
in all embodiments, and it should be understood that the                  being a measure of difference between the activation
described program components and systems can generally                    input value and the raw activation value; and
be integrated together in a single software product or pack-           generating a weight enhanced precision value for the
aged into multiple software products.                                     weight input value, the weight enhanced precision
   Particular embodiments of the subject matter have been 25              value being a measure of difference between the weight
described. Other embodiments are within the scope of the                  input value and the raw weight value; and
following claims. For example, the actions recited in the              wherein, multiplying the activation input value and the
claims can be performed in a different order and still achieve            weight input value to generate the product value com-
desirable results. As one example, the processes depicted in              prises:
the accompanying figures do not necessarily require the 30                multiplying, by the multiplication circuitry of the
particular order shown, or sequential order, to achieve                      matrix computation unit,
desirable results. In certain implementations, multitasking                  the input value by the weight input value,
and parallel processing may be advantageous.                                 the input value by the weight enhanced precision
   What is claimed is:                                                          value,
   1. A method of performing a matrix multiplication using 35                the weight input value by the activation enhanced
a hardware circuit, the method comprising:                                      precision value, and
   obtaining, by a matrix computation unit of the hardware                   the activation enhanced precision value by the
      circuit, an input activation value and a weight input                     weight enhanced precision value, and
      value, the input activation value and the weight input              combining products of the multiplications to generate
      value each having a first floating point format, wherein 40            the product value.
      the hardware circuit is configured to perform compu-             7. A hardware circuit comprising:
      tations for a neural network having a plurality of layers,       a matrix computation unit configured to perform a first
      wherein the input activation value and the weight input             group of operations comprising:
      value are associated with a layer of the plurality of               obtaining an activation input value and a weight input
      layers;                                                    45          value, the activation input value and the weight input
   multiplying, by a multiplication circuitry of the matrix                  value both having a first floating point format,
      computation unit, the input activation value and the                   wherein the hardware circuit is configured to per-
      weight input value to generate a product value, the                    form computations for a neural network having a
      product value having a second floating point format                    plurality oflayers, wherein the activation input value
      that has a higher precision than the first floating point 50           and the weight input value are associated with a layer
      format and has a dynamic range that is at least as large               of the plurality of layers;
      as the dynamic range of the first floating point format;            storing the weight input value in a weight register, the
   obtaining, by the matrix computation unit, a partial sum                  weight register being configured to store values
      value in a third floating point format that has a higher               having the first floating point format;
      precision than the first floating point format and has a 55         multiplying, a using multiplication circuitry of the
      dynamic range that is at least as large as the dynamic                 hardware circuit, the activation input value and the
      range of the first floating point format; and                          weight input value to generate a product value, the
   combining, by a summation circuitry of the hardware                       product value having a second floating point format
      circuit, at least the partial sum value and the product                that has a higher precision than the first floating point
      value to generate an updated partial sum value that has 60             format and has a dynamic range that is at least as
      the third floating point format.                                       large as the dynamic range of the first floating point
   2. The method of claim 1, wherein the precision of a                      format;
floating point format is determined based on a count of                   obtaining a partial sum value in a third floating point
available bits for a significand in the floating point format                format that has a higher precision than the first
and the dynamic range of a floating point format is deter- 65                floating point format and has a dynamic range that is
mined based on a count of available bits for an exponent in                  at least as large as the dynamic range of the first
the floating point format.                                                   floating point format;




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      storing the partial sum value in a sum in register, the             higher precision than the first floating point format and
         sum in register being configured to store values                 has a dynamic range that is at least as large as the
         having the third floating point format; and                      dynamic range of the first floating point format;
      combining, using a surmnation circuitry of the matrix            obtaining a partial sum value in a third floating point
         computation unit, the partial sum value and the 5                format that has a higher precision than the first floating
         product value to generate an updated partial sum                 point format and has a dynamic range that is at least as
         value that has the third floating point format.                  large as the dynamic range of the first floating point
   8. The hardware circuit of claim 7, the first group of                 format; and
operations further comprising:                                         combining at least the partial sum value and the product
   storing the activation input value in an activation register, 10       value to generate an updated partial sum value that has
      the activation register being configured to store values            the third floating point format.
      having the first floating point format.                          13. A computer storage medium encoded with instructions
   9. The hardware circuit of claim 7, the first group of           that, when executed by one or more computers, cause the
operations further comprising:                                      one or more computers to perform the operations of the
   storing the weight input value in a weight register, the 15 respective method of:
      weight register being configured to store values having          obtaining an input activation value and a weight input
      the first floating point format.                                    value, the input activation value and the weight input
   10. The hardware circuit of claim 7, the first group of                value each having a first floating point format, wherein
operations further comprising:                                            the one or more computers are configured to perform
   storing the partial sum value in a sum in register, the sum 20         computations for a neural network having a plurality of
      in register being configured to store values having the             layers, wherein the input activation value and the
      third floating point format.                                        weight input value are associated with a layer of the
   11. The hardware circuit of claim 7, further comprising an             plurality of layers;
external summation circuitry outside the matrix computation            multiplying the input activation value and the weight
unit, and wherein the first group of operations further 25                input value to generate a product value, the product
comprises:                                                                value having a second floating point format that has a
   receiving a request to process the raw activation value                higher precision than the first floating point format and
      with enhanced precision;                                            has a dynamic range that is at least as large as the
   generating an activation enhanced precision value for the              dynamic range of the first floating point format;
      input value, the activation enhanced precision value 30          obtaining a partial sum value in a third floating point
      being a measure of difference between the activation                format that has a higher precision than the first floating
      input value and the raw activation value; and                       point format and has a dynamic range that is at least as
   generating a weight enhanced precision value for the                   large as the dynamic range of the first floating point
      weight input value, the weight enhanced precision                   format; and
      value being a measure of difference between the weight 35        combining at least the partial sum value and the product
      input value and the raw weight value; and                           value to generate an updated partial sum value that has
   wherein, multiplying the activation input value and the                the third floating point format.
      weight input value to generate the product value com-            14. A system comprising one or more computers and one
      prises:                                                       or more storage devices storing instructions that are oper-
      multiplying, by the multiplication circuitry of the 40 able, when executed by the one or more computers, to cause
         matrix computation unit,                                   the one or more computers to perform the operations of a
         the input value by the weight input value,                 respective hardware circuit of:
         the input value by the weight enhanced precision              obtaining an activation input value and a weight input
            value,                                                        value, the activation input value and the weight input
         the weight input value by the activation enhanced 45             value both having a first floating point format, wherein
            precision value, and                                          the respective hardware circuit is configured to perform
         the activation enhanced precision value by the                   computations for a neural network having a plurality of
            weight enhanced precision value, and                          layers, wherein the input activation value and the
   wherein the external summation circuitry is configured to              weight input value are associated with a layer of the
      perform a second group of operations comprising:           50       plurality of layers;
      combining products of the multiplications to generate            storing the weight input value in a weight register, the
         the product value.                                               weight register being configured to store values having
   12. A system comprising one or more computers and one                  the first floating point format;
or more storage devices storing instructions that are oper-            multiplying the activation input value and the weight
able, when executed by the one or more computers, to cause 55             input value to generate a product value, the product
the one or more computers to perform the operations of:                   value having a second floating point format that has a
   obtaining an input activation value and a weight input                 higher precision than the first floating point format and
      value, the input activation value and the weight input              has a dynamic range that is at least as large as the
      value each having a first floating point format, wherein            dynamic range of the first floating point format;
      the one or more computers are configured to perform 60           obtaining a partial sum value in a third floating point
      computations for a neural network having a plurality of             format that has a higher precision than the first floating
      layers, wherein the input activation value and the                  point format and has a dynamic range that is at least as
      weight input value are associated with a layer of the               large as the dynamic range of the first floating point
      plurality of layers;                                                format;
   multiplying the input activation value and the weight 65            storing the partial sum value in a sum in register, the sum
      input value to generate a product value, the product                in register being configured to store values having the
      value having a second floating point format that has a              third floating point format; and




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   combining the partial sum value and product value to               multiplying the activation input value and the weight
      generate an updated partial sum value that has the third           input value to generate a product value, the product
      floating point format.                                             value having a second floating point format that has a
   15. A computer storage medium encoded with instructions               higher precision than the first floating point format and
that, when executed by one or more computers, cause the 5                has a dynamic range that is at least as large as the
one or more computers to perform the operations of a                     dynamic range of the first floating point format;
respective hardware circuit of:                                       obtaining a partial sum value in a third floating point
   obtaining an activation input value and a weight input                format that has a higher precision than the first floating
      value, the activation input value and the weight input             point format and has a dynamic range that is at least as
      value both having a first floating point format, wherein 10        large as the dynamic range of the first floating point
      the hardware circuit is configured to perform compu-               format;
      tations for a neural network having a plurality of layers,      storing the partial sum value in a sum in register, the sum
      wherein the activation input value and the weight input            in register being configured to store values having the
      value are associated with a layer of the plurality of              third floating point format; and
      layers;                                                    15   combining the partial sum value and product value to
   storing the weight input value in a weight register, the              generate an updated partial sum value that has the third
      weight register being configured to store values having            floating point format.
      the first floating point format;                                                    * * * * *




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